Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1039 Filed 08/05/22 Page 1 of 33




                         Exhibit P
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1040 Filed 08/05/22 Page 2 of 33




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Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1041 Filed 08/05/22 Page 3 of 33




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                     The Value of Online Information Privacy:
                           An Empirical Investigation


               Il-Horn Hann, Kai-Lung Hui, Tom S. Lee, and I.P.L. Png


                                   Related Publication 03-25
                                         October 2003




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  of Singapore. The authors acknowledge financial support from the Carnegie Bosch Foundation, GSIA,
  Carnegie Mellon University. We thank Teck H. Ho, and 2002 International Conference on Information
  Systems referees for valuable comments.
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1042 Filed 08/05/22 Page 4 of 33




                                       Executive Summary

          Concern over online information privacy is widespread and rising. However, prior
  research is silent about the value of information privacy in the presence of potential benefits
  from sharing personally identifiable information. Analyzing individuals’ trade-offs between the
  benefits and costs of providing personal information to websites revealed that benefits –
  monetary reward and future convenience – significantly affect individuals’ preferences over
  websites with differing privacy policies. Quantifying the value of website privacy protection
  revealed that among U.S. subjects, protection against errors, improper access, and secondary use
  of personal information is worth US$30.49 – 44.62. Finally, three distinct segments of Internet
  consumers were determined – privacy guardians, information sellers, and convenience seekers.
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1043 Filed 08/05/22 Page 5 of 33
                                                                                                                                    1


                 The Value of Online Information Privacy: An Empirical Investigation
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  1. Introduction


            Privacy has been identified to be a major, if not the most critical, impediment to e-
  commerce: “In our view, the single, overwhelming barrier to rapid growth of e-commerce is a
  lack of consumer trust that consumer protection and privacy laws will apply in cyberspace.
  Consumers … worry, deservedly, that supposedly legitimate companies will take advantage of
  them by invading their privacy to capture information about them for marketing and other
  secondary purposes without their informed consent” (U.S. Public Interest Research Group 2000).
            Even before the advent of e-commerce, there was broad concern about collection of
  personal information in various contexts, including employment, retailing and direct marketing,
  and government. These concerns prompted government action. In 1974, the U.S. Congress
  passed the Privacy Act to regulate government collection and use of personal information.1 In
  1980, the Organization for Economic Co-operation and Development published guidelines for
  the collection and use of personal information by government and private organizations (OECD
  1980). Further, in 1995, the European Union adopted a data protection directive that regulates
  information within and beyond the Union (European Union 1995). The directive disallows
  transfer of information to other countries that do not provide adequate protection.
            Rapid improvements in computing technologies and the advent of e-commerce have
  amplified public concern about privacy, especially on electronic networks. With every website
  visit, a browser leaves an electronic trace which can later be retrieved and analyzed. Combined
  with technology to store identifying information (cookies), website operators can profile
  browsers to an unprecedented degree and subsequently merge these profiles with other
  demographic data. Such an enriched data set can then be used by the company or sold to other
  parties.2 This information could benefit the customer by more precisely identifying her need.
  However, it could also be used to her detriment. For example, Amazon.com was suspected of
  engaging in differential pricing based on prior shopping information and other customer


  1
    Specifically, the Privacy Act of 1974 prohibits unauthorized disclosures of records and gives individuals the right to review
  records about themselves to check whether records have been disclosed and to request corrections or amendments.
  2
    New York Times, “Giving the Web a Memory Cost Its Users Privacy,” September 4, 2001.
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1044 Filed 08/05/22 Page 6 of 33
                                                                                                                              2


  demographics for the sales of DVDs.3 Westin (2001) concludes: “There has been a well-
  documented transformation in consumer privacy attitudes over the past decade, moving concerns
  from a modest matter for a minority of consumers in the 1980s to an issue of high intensity
  expressed by more than three-fourth of American consumers in 2001”.
           Despite the passage of new legislation, including the 1998 Children’s Online Privacy
  Protection Act, which regulates the online collection and use of children’s personal information,
  there continues to be public pressure for increased regulation. Over fifty bills to regulate online
  privacy were introduced in the first session of the 107th Congress.                             Industry, however, is
  resisting the proposals to tighten regulation.                   The national cost of complying with these
  legislative proposals has been estimated to be US$9-36 billion (Hahn 2001). For just catalog and
  Internet clothing retailers, a study sponsored by the Direct Marketing Association estimated that
  opt-in restrictions to use of demographic information by third parties would raise costs by US$1
  billion (Turner 2001).
           The conflict between privacy advocates and industry motivates our research objective:
  Exactly how much do individuals perceive to be the cost of releasing personal information
  online? The real policy issue is not whether consumers value online privacy. It is obvious that
  people value online privacy. What is not known is how much people value online privacy and
  the extent to which people differ in their valuations. Despite tremendous debate and policy
  interest, there has, to date, been no research into this question (Hahn 2001). Indeed, it has been
  conjectured that “measuring the value of consumer privacy may prove to be intractable” (Ward
  2001).
           Businesses need to know the value of privacy in deciding whether to invest in privacy
  seals and what incentives to offer consumers for their personal information. Governments need
  this information to decide on public policy towards information privacy. For instance, Laudon
  (1996) and Varian (1997) have proposed to regulate privacy through markets in personal
  information. But the economic viability of such markets depends on individuals’ perceived
  value of privacy.
           In this study, we applied conjoint analysis, which is the standard way of measuring
  consumer trade-offs (Green and Srinivasan 1990; Wittink and Cattin 1989), to U.S. and

  3
   Amazon has subsequently apologized for charging different prices and refunded an average of $3.10 to each of 6,896 customers
  who bought a DVD. These consumers paid between 25-66 percent more than the lowest available price. While it has been
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1045 Filed 08/05/22 Page 7 of 33
                                                                                                                   3


  Singapore subjects’ rankings of alternative combinations of benefits and privacy protection in an
  online setting. The benefits were monetary reward and future convenience, while the privacy
  protection applies to errors in storing or processing personal information, unauthorized
  secondary use of information, and improper access to information.4 This allows us to make the
  following contributions:
           First, the conjoint analysis showed that the benefits had a significant effect on our
  subjects’ preferences.         Second, by comparing the value of protection on the three privacy
  concerns with the value of monetary reward, we provide the first estimates of the monetary value
  of privacy protection in the United States. Last, by applying cluster analysis to the subjects’
  marginal rankings of the various benefits and concerns, we found that our subjects could be
  categorized into three distinct segments – privacy guardians, information sellers, and
  convenience seekers. The majority of subjects were relatively sensitive to online information
  privacy concerns (“privacy guardians”). By contrast, a smaller proportion was relatively willing
  to provide information in exchange for money (“information sellers”), and an even smaller
  proportion was relatively willing to provide information in exchange for convenience
  (“convenience seekers”).
           All of the preceding results were robust in the sense that they held in both the U.S. and
  Singapore samples. Our results contribute directly to the public policy debate over whether
  online privacy protection is worth its cost to industry. They also inform businesses whether to
  invest in privacy seals and what incentives to offer consumers for their personal information.
           The remainder of this paper is organized as follows. We provide an overview of the
  relevant literature and our research questions in Section 2. The experimental procedure is
  explained in Section 3. Section 4 describes the results of the conjoint analysis and estimates the
  dollar value of privacy protection. Section 5 reports the results of the cluster analysis. Section 6
  discusses implications for public policy and business strategy.                           Section 7 concludes with
  limitations and directions for future research.




  speculated that Amazon engaged in price discrimination, Amazon claimed that these were ‘random’ tests.
  (http://www.internetnews.com/ec-news/article.php/4_471541, September 28, 2000).
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1046 Filed 08/05/22 Page 8 of 33
                                                                                                                                      4


  2. Theory and Hypotheses


              Information privacy has been defined as the individual’s ability to control the collection
  and use of personal information (Westin 1967; Stone and Stone 1990). Research in consumer
  psychology suggests that individuals seek privacy to maintain self-identity, establish personal
  boundaries, and avoid unwanted disclosure and intrusion (Goodwin 1991, 1992). In many
  experimental and organizational settings, people are found to perceive privacy invasions when
  they are not granted sufficient control on the solicitation, storage, use and disclosure of various
  types of personal information (see, e.g., Eddy et al. 1999; Tolchinsky et al. 1981; Woodman et
  al. 1982). Such perception may deter them from taking part in transactions that involve personal
  information solicitation (Culnan 1993; Stone et al. 1983).
              Consumer research suggests that individuals face a degree of risk when they enter into
  marketing transactions, and their perceived risk may significantly affect their extent of
  information search and purchase decisions (Cox and Rich 1964). Generally, perceived risk
  encompasses both the uncertainty and adverse consequences of taking part in a transaction
  (Dowling and Staelin 1994). Advances in network and telecommunications technologies have
  fostered the growth of electronic commerce, which has added a new information dimension to
  marketing transactions. Increasingly, consumer information is acquired, exchanged, and used by
  online merchants. This has expanded the risk of consumers – other than the basic products (or
  services), they now face an additional uncertainty regarding how their personal information is
  handled.         Information privacy has been found to be of utmost concern to consumers in
  contemporary marketing exchanges (Culnan and Armstrong 1999; Hoffman et al. 1999; Phelps
  et al. 2000).
              One perspective through which the information privacy context of an Internet
  relationship between a consumer and a firm can be discussed is Social Exchange Theory (SET).
  In its most general form, social exchange theory proposes that people review and weigh their
  relationships in terms of costs and rewards. These costs and rewards are specific to a person and
  are used to guide behavior (Thibaut and Kelley 1959; Homans 1961; Blau 1964). This notion
  has found widespread application in diverse areas; social exchange theory has been used to
  understand marketing transactions (Alderson and Martin 1965; Bagozzi 1975), to predict the

  4
      The objective of this research certainly fits within Wittink’s (2001) “Encapsulation Model” in which business school research
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1047 Filed 08/05/22 Page 9 of 33
                                                                                                                  5


  perception of service level obtained from a government agency (Gutek 1999) and to analyze the
  reciprocity of venture capitalists to invite other venture capitalists to join in a continued funding
  of a start-up (Jan Piskorski). Specifically, in the context of online marketing, Chellappa and Sin
  (2002) propose several hypotheses based on social exchange theory.
           Invoking social exchange theory to analyze the Internet relationship, we first have to
  establish the costs and rewards to submitting private information to a firm. Regarding the costs,
  we identified the four concern dimensions previously established by Smith et al. (1996) –
  collection, error, unauthorized secondary use, and improper access. Collection refers to the
  concern that “extensive amounts of personally identifiable data are being collected and stored in
  databases”; error refers to the concern that “protections against deliberate and accidental errors in
  personal data are inadequate”; unauthorized secondary use refers to the concern that
  “information is collected for one purpose but is used for another, secondary purpose”; improper
  access refers to the concern that “data about individuals are readily available to people not
  properly authorized to view or work with this data” (Smith et al. 1996, page 172, Table 2).
  These dimensions were further validated by Stewart and Segars (2002).
           In online transactions, firms seek to reduce these costs through notices and protections
  which are often provided in the form of a detailed privacy statement. Because of the extra risk
  associated with the use of personal information, consumers value informed notices of how their
  information is handled, and they prefer fair information procedures and privacy protection
  (Culnan and Armstrong 1999; Hoffman et al. 1999). Hence social exchange theory would
  suggest that consumers prefer websites that reduce these costs. In addition, the expectancy
  theory-based model of privacy suggests that individuals seek to minimize negatively valued
  outcomes, which include physical and psychological harms due to the misuse of personal
  information. Further, individuals’ cognition of the desirability of the expected outcome due to
  disclosure is a direct, positive function of procedural factors related to information handling
  (Stone and Stone 1990). Therefore, our first hypothesis is formulated as:


           Hypothesis H1: Individuals value information privacy protection in online transactions that
           involve personal information solicitation; a website that provides a higher level of protection will
           be preferred to one that provides less protection.




  must have real-world relevance.
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1048 Filed 08/05/22 Page 10 of 33
                                                                                                                                6


           Besides information privacy protection, individuals’ preference toward a particular
  website may also be affected by extrinsic, positive reinforcements. The resource exchange
  theory characterizes six categories of interpersonal resources: love, status, information, money,
  goods and services, and it is well demonstrated that people are willing to trade one resource for
  another (Foa 1971; Donnenwerth and Foa 1974). Prior research has shown that this resource
  framework is quite general, and it can be applied to analyze different types of marketing
  transactions that involve interpersonal relationships and resource exchanges (Brinberg and Wood
  1983; Hirschman 1987).
           On the Internet, many websites provide monetary reward or exclusive, convenient
  services that help reduce transaction time to consumers who disclose certain personal
  information.5 Both money and service are primary elements in Foa’s (1971) theory, and they
  may act as positive incentives and resources for online firms to exchange for consumer
  information. Further, because privacy protection represents another type of service provided by
  online firms, the resource exchange theory predicts that people may be willing to forgo privacy
  protection in return for other resources (i.e., money or convenient services). Indeed, anecdotal
  evidence has shown that people are willing to disclose personal information for gifts and catalogs
  (Oberndorf 1999; Russell 1989), and even a $100 drawing (Jupiter Media Metrix 2002). The
  human capital model in economics also treats time as a primary resource to produce household
  activities (Becker 1965; Leclerc et al. 1995; Ratchford 2001). This implies that people may
  value services provided by websites that increase convenience and help save time, which can
  then be used for other consumption activities.
           The proposition that individuals value positive reinforcements when deciding whether to
  provide information to websites is also consistent with social exchange theories. Specifically,
  the social exchange framework of human behavior posits that people tend to perform actions that
  generate outcomes which, based on their past experience and personal interest, are rewarding to
  them (Blau 1964; Emerson 1972a, 1972b; Homans 1961). The more rewarding is a particular
  outcome, the higher the probability that people will perform the associated action.
           Because money and convenient service are both useful resources that most people find
  rewarding (Foa 1971), the social exchange theory suggests that people have a higher tendency to

  5
   For instance, it is common for websites to offer shopping vouchers or discount coupons to first-time consumers who register as
  members; Amazon’s one-click shopping facilitates quicker and easier transactions for customers who have previously provided
  personal information, such as delivery address and credit card profile.
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1049 Filed 08/05/22 Page 11 of 33
                                                                                                                 7


  enter into an exchange relationship with websites which provide more monetary reward or time-
  saving convenient services. Synthesizing the above theoretical arguments, our next hypotheses
  are posited as:


         Hypothesis H2a: Individuals value positive reinforcements, exemplified by monetary reward, in
         online transactions that involve personal information solicitation; a website that provides higher
         levels of money will be preferred to one that provides less money.

         Hypothesis H2b: Individuals value positive reinforcements, exemplified by time-saving services,
         in online transactions that involve personal information solicitation; a website that provides higher
         levels of time-saving services will be preferred to one that provides less time-saving.


         Note that H1, H2a and H2b describe basic individual preferences, and they may apply to
  general behavioral decisions, such as participation into online activities, information disclosure,
  or selection of websites for transactions. In particular, when individuals are presented with
  multiple websites that differ in terms of privacy protection or the provision of positive
  reinforcements, they may tradeoff the value that they attach to each of these dimensions.
         Theoretical models of privacy have suggested that individuals perform a privacy calculus
  to assess the cost and benefit of providing personal information (Laufer and Wolfe 1977; Stone
  and Stone 1990). In the online context, privacy cost consists of consumers’ perceived risk of
  information provision (cf. H1), whereas benefit can be any monetary rewards or services that
  consumers receive from websites (cf. H2a, H2b).                  Such a cost-benefit tradeoff calculus is
  coherent with Foa’s (1971) resource exchange hypothesis, as consumers may forgo privacy
  protection (a service resource) to acquire more money or services. Empirically, research has
  found that people often make tradeoff decisions involving money and time (Leclerc et al. 1995).
  In the context of direct mail participation, Milne and Gordon (1993) exposed subjects to a trade-
  off between compensation, targeting, volume, and permission, thereby making perceptions about
  negative consequences of revealing private information implicit.                     In their study, monetary
  compensation received the highest weight. As we illustrate later, a conjoint experiment allows
  us to test H1, H2a and H2b, to explore the extent of such cost-benefit privacy tradeoff explicitly,
  and to quantify the monetary value of different privacy protections.
         Finally, the social exchange theory posits that individuals’ choice of actions (and hence
  their preferences toward alternative stimuli) are influenced by their personal experience; the
  more frequently a person was rewarded by a particular stimulus in the past, the more likely she
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1050 Filed 08/05/22 Page 12 of 33
                                                                                                   8


  would be to perform an action that leads to the stimulus (Emerson 1972a; Homans 1961). Also,
  the extent of privacy calculus posited by Laufer and Wolfe (1977) depends on personal and
  environmental characteristics, and Stone and Stone’s (1990) expectancy theory-driven privacy
  model includes individual and social factors such as personality and previous learning. In
  accordance with these models, individuals’ preferences toward privacy protection and positive
  reinforcement may be shaped by their personal characteristics. In the context of information
  privacy, these theories posit that individuals may vary in their judgments towards online privacy.
  In as much as expectations about rewards and costs across individuals are similar, groups may be
  identified. For example, past opinion surveys have divided the U.S. population into a majority of
  “privacy pragmatists” and minorities of “privacy fundamentalists” and “privacy unconcerned”
  (Westin 2001). In this research, other than testing the hypotheses and assessing privacy tradeoff,
  we use a variety of personal characteristics as predictors to verify whether such a categorization
  is appropriate, and whether individuals’ attitudes toward privacy can be systematically predicted.


  3. Experimental Procedure


         To address our primary set of research questions, we employed the technique of conjoint
  analysis. This technique presents test subjects with a set of alternatives (stimuli). Each stimulus
  consists of particular levels of various dimensions. The subject is asked to rank the stimuli
  according to her own preferences. Conjoint analysis assumes that the individual’s ranking of
  each stimulus can be decomposed into the sum of contributions from the multiple dimensions.
  For each dimension, the contribution is the part-worth multiplied by the level of that dimension.
  Essentially, the part-worth is the marginal utility of the dimension in the individual’s ranking of
  the conjoint stimuli.
         To keep the conjoint tasks to a manageable size, Green and Srinivasan (1990)
  recommend that the number of attributes be limited to six or fewer. Following Green and
  Krieger (1991), we conducted focus groups prior to the conjoint study.           Specifically, we
  conducted three focus group discussions with upper-division undergraduate and graduate
  students in the United States and Singapore to identify the key benefits that they expected from
  registration with websites and suitable attribute levels.      The focus groups suggested that
  individuals clearly value direct monetary savings. In addition, they also identified convenience
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1051 Filed 08/05/22 Page 13 of 33
                                                                                                                                    9


  as another important benefit of providing personal information to a website. The focus groups
  identified two sources of convenience benefits – the explicit time saving per session and the
  expected visit frequency to the website.                      Accordingly, we operationalized convenience by
  “expected visit frequency/total time savings” in our conjoint experiment.6
            As mentioned before, we considered the four concern dimensions identified by Smith et
  al. (1996) – collection, error, unauthorized secondary use, and improper access – as the costs of
  privacy. For our purpose, collection is a necessary antecedent to the three other dimensions.
  Error, unauthorized secondary use and improper access of information can not happen without ex
  ante collection of personal information.                     Further, individuals’ concerns on the other three
  dimensions are a direct function of the amount of information collected – the more information a
  website collects, the higher should be the concerns with error, unauthorized secondary use, and
  improper access of information.                  Therefore, it would not be appropriate to manipulate the
  collection of information and let subjects assess the tradeoffs between collection and other
  concern/benefit dimensions.                Accordingly, in our conjoint analysis, we controlled for the
  collection of information and manipulated the other three concern dimensions.
            Taken together, our conjoint study assessed trade-offs among five dimensions – two
  benefits and three privacy concerns. We created three treatment levels each of monetary reward
  ($5, $10 and $20) and visit frequency/time savings (monthly, weekly and daily).7 The benefit
  levels were motivated by the focus groups. The three concerns (error, unauthorized secondary
  use and improper access of information) were manipulated by the presence (or absence) of
  proper information handling and access procedures.
            Based on these five dimensions and their treatment levels, there were a maximum of 3 x
  3 x 2 x 2 x 2 = 72 conjoint stimuli. To avoid asking subjects to rank too many alternatives, we
  selected 18 stimuli based on an optimal orthogonal design (Addelman 1962). For example, one
  particular stimulus was a website that provided a $5 monetary reward in return for personal
  information and which the subject visited once a month with a total time savings of 24 minutes
  per year.       Further, the website had no error correction procedure, no policies to prevent

  6
    The subjects were told during the experiments that if they expected to visit the website daily, their average time saving over the
  year would be 8 hours and 20 minutes (assuming an average saving of 2 minutes per transaction, 2 minutes x 5 days a week x 50
  weeks = 8 hours and 20 minutes); if they expected to visit the website weekly, the yearly saving would be 1 hour and 40 minutes;
  and if they expected to visit the website monthly, the yearly saving would be 24 minutes.
  7
    The monetary rewards were framed in the respective local currencies. As of April 2002, one Singapore dollar = 54 US cents.
  Due to the currency differences, the effective ranges of monetary rewards differed between the U.S. and Singapore experiments –
  in US dollars, the Singapore rewards were equivalent to US$2.70, US$5.40, and US$10.80, respectively.
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1052 Filed 08/05/22 Page 14 of 33
                                                                                                    10


  unauthorized secondary use, and no policies to prevent improper access to information. Our
  conjoint analysis asked subjects to rank 18 websites (stimuli), which represented different
  combinations of benefits and privacy protection. In order to control for industry effects, we
  posed the conjoint stimuli in three settings – financial, healthcare, and travel. Within each of the
  three industries, we controlled for the degree of information collection by telling the subjects that
  all 18 stimuli (that is, hypothetical websites) requested the same set of personal information from
  the subjects. The personal information consisted of name, home address, phone number, e-mail
  address, credit card information, and some industry-specific information. In addition, travel
  websites requested the consumer’s occupation, travel purpose, destination and frequency of
  travel, as well as frequent flyer numbers, healthcare websites asked for medical history, drug
  allergies, and prescription record, and financial websites asked for household income, stock
  portfolio, and previous stock trading experience.
         Each subject was randomly assigned to one of the three industry settings and asked to
  rank the 18 stimuli (websites) according to her own preferences.              In other words, the
  benefit/concern dimensions were within-subject factors whereas industry was a between-subject
  factor. To capture the background of the experimental subjects, we also included demographic
  questions regarding subjects’ gender, age, Internet usage and previous experience with invasion
  of privacy.
         To strengthen the external validity of our study, we conducted the conjoint experiment in
  both the USA and Singapore. The U.S. subjects were upper-division undergraduate students
  from a major Eastern university.          The Singapore sample consisted of upper-division
  undergraduate students enrolled in an e-commerce technologies course at a major university.
  Table 1 presents some descriptive statistics about our subjects.
         The experiment proceeded as follows. First, all subjects completed the demographic
  questions. Then, the experimental task and the meanings of the five dimensions were explained.
  Finally, the subjects ranked the 18 stimuli based on their personal preferences. In the U.S.
  sample, 84 participants completed the experiment, and, among them, 35 students received course
  credit, while the remainder were compensated with US$7.8              In Singapore, 184 subjects
  completed the experiment and received course credit. We collected 268 responses in total.
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1053 Filed 08/05/22 Page 15 of 33
                                                                                                                                 11


  4. Conjoint Analysis


              The key outcome of conjoint analysis is the part-worths (marginal utilities) of the various
  dimensions that comprise the conjoint stimuli. To estimate the part-worths, we used least-
  squares regression with the subjects’ rankings (from 1 to 18) as the dependent variable and
  indicators of the various levels of the two benefit and three privacy concern dimensions as the
  independent variables. Then, the coefficient of each independent variable would be the part-
  worth corresponding to that level of the dimension.                              Further, we calculated the relative
  importance of each dimension as the part-worth corresponding to the maximum level of that
  dimension divided by the sum of the part-worths corresponding to the maximum levels of all five
  dimensions. We expressed relative importance as a percentage.
              Table 2 reports the means of the part-worths and relative importance for the U.S. and
  Singapore subjects. Note that the part-worths and relative importance for the U.S. and Singapore
  samples are not directly comparable as the monetary rewards were framed in the respective local
  currencies. At the April 2002 exchange rate, the rewards specified to the Singapore subjects
  were equivalent to US$2.70, US$5.40, and US$10.80 respectively.
              We first examined whether the responses from the subjects differed across the three
  industries (financial, healthcare and travel).                     Since our U.S. and Singapore samples were
  relatively large, the central-limit theorem implies that the estimated part-worths for each
  independent variable should approximately follow a normal distribution. Based on this premise,
  we conducted one-way analysis of variance (ANOVA) and pairwise t-tests to compare the part-
  worths across the industries. The results suggested that the part-worths (or, equivalently, the
  subjects’ preferences) were not statistically different across financial, healthcare and travel
  websites. Accordingly, in all subsequent analyses, we pooled the data across industries.
              The part-worths on the privacy coefficients (error, improper access, unauthorized
  secondary use) show strong support for Hypothesis 1. A positive part-worth for a specific
  privacy dimension, which differs significantly from zero, indicates that subjects on average
  prefer a website with this privacy feature. For example, regarding the US sample, a privacy
  policy which restricts improper access will rise its ranking by 3.007 (out of 18). Referring to
  Table 2, the part-worths for protection against all three privacy concerns were statistically

  8
      We found no statistically significant difference in part-worths between those who received course credit and those compensated
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1054 Filed 08/05/22 Page 16 of 33
                                                                                                     12


  significant at the 1% level in both samples. Among U.S. subjects, the part-worth for review
  (which enabled an individual to correct errors in his/her personal information) was 2.968, while
  that for disallowing unauthorized secondary use was 2.118. Among Singapore subjects, the part-
  worths for error review and editing, restricting improper access, and disallowing unauthorized
  secondary use were 1.787, 3.374 and 4.604 respectively.
           Comparing the part-worths between countries, we found that, consistent with previous
  research (Esrock and Ferre 1999; Milberg et al. 1995), Singapore subjects were relatively more
  concerned about improper access and unauthorized secondary use than errors in storing
  information. However, the U.S. subjects exhibited less concern for unauthorized secondary use
  than errors in storing information. Despite the discrepancy in relative preferences toward the
  different privacy protections across the two samples, our conjoint experiment confirmed previous
  findings that individuals are highly concerned about information privacy, and they value
  protective measures (Culnan and Armstrong 1999).
           Our results indicate support for Hypothesis 2a; i.e., that positive reinforcements such as
  monetary rewards are valued. For the U.S. sample, the part-worth for a US$20 reward was 3.141
  and was statistically significant. This means that a website offering a US$20 reward for personal
  information would raise its ranking by 3.141 (out of 18) as compared to an otherwise identical
  website offering the base level US$5 reward. Also, the part-worth for a US$10 reward was
  1.327 and significant. For the Singapore sample, the part-worth for a S$20 reward was 1.388
  and was statistically significant.            At the prevailing exchange rate, S$20 was equivalent to
  US$10.80, hence it was not surprising that the part-worth was much less than the US$20 part-
  worth in the U.S. sample (3.141). Interestingly, the S$20 part-worth among Singapore subjects
  (1.388) was very close to the US$10 part-worth among U.S. subjects (1.327). This result arose
  even though the base-level rewards were different in the two samples (S$5 and US$5
  respectively). The part-worth for a S$10 reward in the Singapore sample was 0.232 but not
  statistically significant. Apparently, the subjects were willing to trade away privacy protection
  or convenience only when the monetary reward exceeded a threshold, which lay between S$10-
  20 (US$5.40 – 10.80).
           Taken together, the results from the U.S. and Singapore samples suggest that a
  sufficiently large monetary reward did significantly increase the relative attractiveness of a

  with US$7. Hence, we pooled both groups into a single sample.
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1055 Filed 08/05/22 Page 17 of 33
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  website independent of its privacy policy. Further, when the monetary reward was relatively low
  (as in the Singapore sample), the marginal utility of the reward was increasing, and when the
  monetary reward was relatively high (as in the U.S. sample), the marginal utility tended to
  decrease. These results indicate that the attractiveness of a monetary reward relative to privacy
  protection or convenience might follow the “S”-shape as shown in Figure 1. The results are
  consistent with economic analysis that utility functions tend to be non-concave (Friedman and
  Savage 1948; Hartley and Farrell 2002).
         We also find a support for Hypothesis 2b; i.e., that positive reinforcements such as time
  saving services, operationalized by visit frequency/time savings, are valued. Referring to Table
  2, in the U.S. sample, the part-worth for weekly visit was significant at the 5% level, but the part-
  worth for daily visit was significant only at the 10% level. Further, the part-worths for weekly
  and daily visits were not significantly different. In the Singapore sample, the part-worths for
  visit frequency/time savings were generally more significant.          However, as with the U.S.
  subjects, the effect due to weekly visit was not significantly different from that due to daily visit.
         From the results of both samples, we conclude that there is some evidence that subjects
  are sensitive to convenience. The evidence is stronger among Singapore subjects than U.S.
  subjects. Further, once the subjects expected to visit a certain website sufficiently frequently (at
  least once a week), more frequent visits did not seem to affect the subjects’ preferences.
         The part-worths and relative importance associated with visit frequency/time savings
  among U.S. and Singapore subjects were very close. In both samples, these were much lower
  than the part-worths and relative importance for the other dimensions. Apparently, among our
  subjects, convenience was only a minor factor when evaluating websites. By contrast, monetary
  reward and privacy protection were perceived to be much more important.
         We can use these results to calculate the marginal utility of a one-dollar reward.
  Referring to Table 2, in the U.S. sample, between the US$5 and US$10 rewards, the US$5
  increase raised the ranking by 1.327, or 0.265 per dollar of reward. Alternatively, between the
  US$10 and US$20 rewards, the US$10 increase raised the ranking by 3.141 – 1.327 = 1.814, or
  0.181 per dollar of reward. These two estimates provide a range of 0.181 – 0.265 per U.S. dollar
  of reward.9 In the Singapore sample, the S$10 part-worth was not significantly different from
  zero. Accordingly, we focus on the S$20 part-worth. Between the S$5 and S$20 rewards, the
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1056 Filed 08/05/22 Page 18 of 33
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  S$15 increase raised the ranking by 1.388, which amounted to 0.0925 per (Singapore) dollar of
  reward or 0.171 per U.S. dollar of reward. This was quite remarkably close to the range (0.181 –
  0.265 per U.S. dollar of reward) that we found among U.S. subjects.
           Finally, using the marginal utilities of a dollar reward and the part-worths for privacy
  protection, we estimate the value of protection, on a per-subject basis, for each of the three
  privacy concerns. Recall that we estimated the marginal utility of a US$1 reward to be 0.181 –
  0.265 among the U.S. subjects. By Table 2, the part-worth for review and editing of information
  was 2.968. Using the lower bound for the marginal utility (0.181 per dollar), the value of review
  and editing of information is 2.968/0.181 = US$16.40. Using the upper bound for the marginal
  utility (0.265 per dollar), the value is 2.968/0.265 = $11.20. We can use the same method to
  derive the values of protecting against improper access and unauthorized secondary use. The
  results are reported in Table 3. We also computed the values for the Singapore subjects using the
  marginal utility of 0.171 per U.S. dollar.
           Generally, our results in Table 3 suggest that websites might need to offer substantial
  monetary incentives to overcome individuals’ concerns about error, improper access, and
  unauthorized secondary use of information. Among U.S. subjects, protection against errors,
  improper access, and secondary use of personal information is worth US$30.49 – 44.62.


  5. Cluster Analysis


           To address our secondary set of research questions – whether individuals systematically
  differ in their trade-off between benefits of disclosing personal information and privacy
  concerns, we applied cluster analysis (Green and Krieger 1991; Vriens et al. 1996). This
  technique groups subjects into distinct segments according to the similarity of their estimated
  part-worths for the various dimensions. In the present case, we apply cluster analysis to segment
  the subjects according to their estimated part-worths over the various benefits and dimensions of
  privacy protection.10
           Specifically, we applied hierarchical cluster analysis using average between-group
  linkage with (dis)similarity measured by the squared Euclidean distance to both the U.S. and

  9
   Between the US$20 and US$5 rewards, the US$15 increase raised the ranking by 3.141, or 0.210 per dollar of reward, which is
  within the range of 0.181 – 0.265 calculated using the other reward differences.
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1057 Filed 08/05/22 Page 19 of 33
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  Singapore samples.           The hierarchical method was preferred because we had no a priori
  information on the number of clusters and initial cluster seeds/centers (Hair et al. 1998, pp. 493 -
  498). We used a distance measure for (dis)similarity as all the part-worths (the inputs to the
  cluster analyses) were derived from a common scale, the website rankings.
           For each sample, we began the analysis with every subject constituting a separate cluster.
  We then examined the percentage drops in the similarity coefficient as clusters were
  progressively merged. In both the U.S. and Singapore samples, we stopped at three clusters as
  further combination of any two clusters resulted in a sharp drop in similarity, a stopping rule
  recommended by Hair et al. (1998, pp. 499). Table 4 reports the three clusters and the respective
  mean part-worths. A small number of subjects could not be classified into any of the three
  clusters. We excluded these observations from subsequent analysis and discussion.11
           Consistent across the two samples, the majority of the subjects formed a cluster that
  could be characterized by a high value on information privacy. Specifically, 72% of the U.S.
  subjects and 84% of the Singapore subjects exhibited relatively high part-worths for protection
  against error, improper access, and unauthorized secondary use of their personal information. By
  contrast, their part-worths on monetary reward and visit frequency/time savings were relatively
  low. We label this group of subjects as “privacy guardians” – people who attach a relatively
  high value to information privacy.
           The next largest cluster consisted of subjects who attached a relatively high value to
  monetary reward. We call them “information sellers”, as they tend to “sell” personal information
  with little regard for convenience (visit frequency/time savings) or website privacy policies.
           The smallest cluster comprised subjects who focused exclusively on convenience
  (operationalized by visit frequency/time savings).                         In fact, their part-worths for visit
  frequency/time savings were so high that their preferences over alternative websites could almost
  be predicted by visit frequency/time savings alone.                        We call these subjects “convenience
  seekers” – people who prefer convenience with little regard for money or website privacy
  policies.



  10
     In the case of monetary reward and visit frequency/time savings, we used the maximum part-worths – $20 monetary reward
  and daily frequency respectively.
  11
     Some of these outliers formed small (one- or two-member) clusters that we could not interpret. Several subjects exhibited
  unusual preferences such as preferring improper access to personal information. They possibly misunderstood the experimental
  tasks. The outliers constituted 7% and 10% of the U.S. and Singapore samples respectively.
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1058 Filed 08/05/22 Page 20 of 33
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              Across the three clusters, we observe very different attitudes toward benefits and privacy.
  The privacy guardians prefer protection, but they still value monetary reward (the mean part-
  worth for monetary reward was significantly different from zero). Only the convenience seekers
  value convenience; for all other clusters, the part-worths for visit frequency/time savings were
  insignificant.12          Among the three privacy concerns, only unauthorized secondary use was
  significant in all three clusters.
              Based on opinion surveys, Westin (2001, pp. 16) characterized 12% of the U.S.
  population as being “privacy unconcerned”: “for 5 cents off, they will give you any information
  you want about their family, their lifestyle, their travel plans, and so forth”. Interestingly, we
  found that 12.5% of the U.S. sample were “information sellers”. However, our evidence is that
  information sellers demand a great deal more than “5 cents off.” Indeed, this point distinguishes
  our analysis from opinion surveys: we can estimate the dollar amount that information sellers
  must be paid for their information.
              Further, our analysis revealed a cluster that Westin (2001) did not identify. This cluster
  consisted of convenience seekers, people who would “sell” their personal information for
  convenience rather than money. Finally, among the remainder of the U.S. population, Westin
  (2001) differentiated between “privacy pragmatists” (63%) and “privacy fundamentalists” (25%)
  according to their sensitivities to privacy, while our cluster analysis did not find such a
  distinction. We did detect some evidence among the U.S. subjects that the privacy guardians
  could be further segmented, with each sub-segment placing relatively greater weight on one of
  the three privacy concerns.
              Having identified three clusters, we investigated whether cluster membership depended
  systematically on particular demographic variables.                            We first sought systematic differences
  between information sellers and privacy guardians. Among the U.S. subjects, we found that
  information sellers had significantly more prior experience of providing personal information to
  websites than privacy guardians (t = 3.115, p < 0.01). The information sellers’ greater prior
  experience was consistent with their relatively high part-worths for money. However, among the
  Singapore subjects, there was no significant difference between information sellers and privacy
  guardians in terms of prior experience of providing personal information to websites.



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       Interestingly, our finding that the subjects were sensitive to convenience seems to be due solely to the convenience seekers.
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1059 Filed 08/05/22 Page 21 of 33
                                                                                                                                17


           We next investigated systematic differences between convenience seekers and privacy
  guardians. Among the U.S. subjects, convenience seekers were much more accepting of cookies
  than privacy guardians (t = 4.282, p < 0.001). Specifically, the convenience seekers were less
  concerned about cookies, and they typically accepted all cookie manipulations from websites
  without warning. By contrast, the majority of the privacy guardians requested to be warned
  about cookies.         Many of them even configured their browsers to reject all cookies.                                   The
  convenience seekers’ greater acceptance of cookies was consistent with their relatively high part-
  worths for visit frequency/time savings.
           Among the Singapore subjects, the convenience seekers were also less concerned about
  the use of cookies than the privacy guardians (t = 6.954, p < 0.001). This result was consistent
  with the preferences of the U.S. sample.
           Overall, we found some evidence that information sellers had more prior experience of
  information provision than privacy guardians, and strong evidence that convenience seekers were
  more accepting of cookies than privacy guardians.


  6. Policy and Business Implications


           We now address the key public policy issue – whether the benefit of increased privacy
  regulation justifies the cost. In the United States, the national cost of complying with various
  legislative proposals to increase regulation of online privacy has been estimated to be US$9-36
  billion (Hahn 2001).
           Referring to Table 3, we estimate that, on average, each individual values protection
  against errors, improper access, and secondary use of personal information at between US$30.49
  – 44.62. In March 2001, an estimated 58 million Americans made a purchase over the Internet
  (Horrigan and Rainie 2002). Based on the number of purchasers, we estimate the benefit of
  privacy protection to be US$1.77 – 2.59 billion, which falls quite far short of Hahn’s (2001) cost
  estimates.13 This estimate is conservative, hence understates the value of privacy protection for
  several reasons. Stronger privacy legislation might raise consumer participation in Internet
  commerce, hence generating additional benefit. Further, our calculation assumes that each

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    If each person values privacy at US$30.49, then 58 million persons would value privacy at a total of 58 x 30.49 = US$1,768
  million or approximately US$ 1.77 billion. Similarly, if we use the higher estimate of the value of privacy (US$44.62), the value
  of privacy to the entire population is US$2.59 billion.
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1060 Filed 08/05/22 Page 22 of 33
                                                                                                 18


  consumer provides information to just one website. To the extent that they provide information
  to multiple websites, the value of privacy protection would be greater.
         Our results also address another public-policy issue – the viability of proposals to
  regulate privacy through markets (Laudon 1996; Varian 1997). Given that individuals’ concern
  for privacy is not absolute, but rather can be traded off against benefits such as money and
  convenience, we conclude that market solutions may well be viable.
         As for business implications, we identified three distinct segments – privacy guardians,
  information sellers, and convenience seekers – in terms of individual trade-offs between the
  benefits of disclosing personal information and privacy concerns. The immediate implication is
  that e-commerce providers must differentiate their services to serve these distinct segments. Just
  as an auto manufacturer makes differentiated models for various segments, an e-commerce
  provider must differentiate its services to best meet the needs of segments with differing trade-
  offs among money, convenience, and privacy concerns.
         Convenience seekers will be the first to register with a website if it simplifies web site
  navigation or enables personalized content. Businesses can exploit this by offering them the
  opportunity to provide personal information to customize the web site and simplify the shopping
  experience.
         Information sellers are distinguished from privacy guardians by prior experience of
  information provision. This customer type cannot be lured to provide personal information by
  offering them convenience. To the extent that businesses cannot observe a consumer’s prior
  experience, they must use indirect methods to induce segmentation by self-selection (Bhargava
  and Choudhary 2002; Moorthy 1984; Png 2002, Chapter 9). Businesses could use monetary
  rewards to attract information sellers to provide personal information. Preferably, businesses
  would seek convenience seekers first before enticing information sellers.
         By elimination, the consumers who do not respond to either monetary reward or
  convenience would be privacy guardians. Businesses would need to use other strategies, such as
  privacy seals (Benassi 1999) or procedural fairness (Culnan and Armstrong 1999), to persuade
  these consumers to provide their personal information.
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1061 Filed 08/05/22 Page 23 of 33
                                                                                                  19


  7. Concluding Remarks


         By applying conjoint analysis, we have shown that individuals’ preferences over
  disclosing personal information to websites do systematically vary with monetary reward and
  convenience. Further, we provided the first analysis of the benefit vis-à-vis cost of increased
  privacy regulation in the United States. In addition, we identified three distinct segments in
  terms of individual trade-off between the benefits of disclosing personal information and privacy
  concerns – privacy guardians, information sellers, and convenience seekers. Finally, we made
  some headway in characterizing these segments.
         Our findings are subject to a number of limitations which are common to many
  experimental settings. All of our subjects were undergraduate students. They would be younger
  and probably be more familiar with the Internet and e-commerce than the general consumer
  population.   Further, they may have had relatively little experience of medical problems,
  relatively little travel experience, and had too little wealth to be familiar with investment
  opportunities and risks. This might explain why we found no systematic industry differences in
  subjects’ preferences.14 For all these reasons, it would be important to verify our findings with a
  more representative sample of subjects.
         We tested our hypotheses using experimental data collected from Singapore and U.S.
  subjects, which include students from diverse countries and cultures. Although our results are
  remarkably consistent across the two samples, future work could explore the possible influences
  of cultural values on individuals' preferences for privacy and positive reinforcements.
  Previously, using Hofstede's (1991) cross-cultural value indices, Milberg et al. (2000) find that
  privacy concern is positively related to power distance, individualism and masculinity, and
  negatively related to uncertainly avoidance. We do not have a priori information or checking on
  the cultural values of our subjects. Therefore, it is infeasible for us to interpret our results in
  light of cultural differences. It would be interesting for future research to extend our findings
  and introduce cultural factors when studying decisions involving privacy trade-offs.
         Further, the reported part-worths are sensitive to the specified attribute levels. For
  example, our conjoint stimuli specified only two levels of each privacy concern – no protection
  and protection. In reality, however, businesses have more flexibility. For example, they may
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1062 Filed 08/05/22 Page 24 of 33
                                                                                                                                    20


  state that personal information is currently not used for secondary purposes, but that such a
  practice cannot be ruled out in the future. Similarly, rewards may range from cash or vouchers
  to lottery drawings. Different reward structures may imply different estimates for the marginal
  utility of a one-dollar reward. Future research may attempt to measure the impact of privacy
  policies and reward structures more directly.15




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     By contrast, Westin (2001) reported that Americans were particularly sensitive to privacy over financial and health
  information.
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     However, this may require a willingness of the businesses to share the kind of data that they have promised not to share for
  secondary use.
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Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1069 Filed 08/05/22 Page 31 of 33
                                                                                                   27




                                Table 1: Descriptive Statistics
                                                       U.S.               Singapore
    Number of subjects                                 84                 184
    Percentage of females                              42%                44%
    Average age                                        24                 23.1
    Average Internet experience (years)                6.8                5.9
    Percentage of subjects having online purchase
                                                       95%                61%
    experience
                                                       U.S. (48), India
                                                                          Singapore (145),
                                                       (13),
                                                                          Malaysia (12), 9 other
    Subjects’ country of origin (number of subjects)   10 other
                                                                          countries (each less
                                                       countries (each
                                                                          than 5)
                                                       less than 5)
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1070 Filed 08/05/22 Page 32 of 33
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                         Table 2. Part-Worths and Relative Importance
                                               U.S.                             Singapore
                                                                Relative               Relative
      Instruments            Level             Part-Worth+                 Part-Worth+
                                                                Importance             Importance
                             $5#    0                                      0
                                    1.327***                               0.232
      Monetary       $10#
                                    (0.341)                     26.24%     (0.165)     11.69%
      Reward
                                    3.141***                               1.388 ***
                     $20#
                                    (0.534)                                (0.281)
                     Monthly        0                                      0
      Visit                         0.568**                                0.432***
                     Weekly
      Frequency/Time                (0.260)                     6.13%      (0.153)     6.02%
      Savings                       0.734*                                 0.715 ***
                     Daily
                                    (0.411)                                (0.254)
                     No Review 0                                           0
      Error                         2.968***                    24.80%     1.787***    15.06%
                     Review
                                    (0.355)                                (0.194)
                     No restriction 0                                      0
      Improper
                                    3.007***                    25.12%     3.374***    28.43%
      Access         Restriction
                                    (0.529)                                (0.349)
                     Allowed        0                                      0
      Unauthorized
                                    2.118***                    17.70%     4.605***    38.80%
      Secondary Use Not allowed
                                    (0.324)                                (0.297)
  +
    Standard errors in parentheses. The control stimulus consisted of the lowest levels of each of the included
  dimensions. Because the control was represented by a least squares intercept, we label all lowest level part-worths
  as zero. The mean intercept is not reported for brevity.
  #
    US dollars for U.S. subjects and Singapore dollars for Singapore subjects.
  ***
      significant at 1% level;** significant at 5% level;* significant at 10% level.



                             Table 3: Value of Privacy (in U.S. dollars)

                      Website privacy policy                     Value
                                                                 U.S.           Singapore
                      Review for error                           $11.18 - 16.36 $10.45
                      Restriction against improper               $11.33 - 16.58 $19.73
                      access
                      Secondary use not allowed                  $ 7.98 - 11.68      $26.93
Case 1:22-cv-10666-TLL-PTM ECF No. 11-17, PageID.1071 Filed 08/05/22 Page 33 of 33
                                                                                                              29


                                                 Table 4: Clusters
                                   Average part-worth
                                               Visit
 Segment                                                                              Unauthorized
                                   Monetary Frequency/                                             Improper
 (no. of observations)                                 Error                          Secondary
                                   reward      Time                                                Access
                                                                                      Use
                                               Savings
           Privacy
                            1.637***      0.027                       4.040***        2.576***    5.116***
           guardians
                            (0.385)       (0.316)                     (0.434)         (0.448)     (0.519)
           (56)
           Information
 U.S.                       10.865*** -0.781                          0.245           1.255**     -0.099
           sellers
 (78) +                     (0.330)       (0.753)                     (0.458)         (0.483)     (0.462)
           (16)
           Convenience
                            1.445         11.028***                   1.500**         0.750*      0.542
           seekers
                            (0.781)       (0.613)                     (0.348)         (0.371)     (0.945)
           (6)
 Number of outliers/unclassifiable observations: 6
           Privacy
                            0.464**       0.089                       2.234***        5.734***    4.973***
           guardians
                            (0.195)       (0.166)                     (0.183)         (0.318)     (0.314)
           (138)
           Information
 Singapore                  11.286*** -0.714                          0.107           1.768***    0.446
           sellers
 (165) +                    (0.360)       (0.855)                     (0.263)         (0.434)     (0.470)
           (14)
           Convenience
                            1.127         10.512***                   0.404           1.077**     0.173
           seekers
                            (0.862)       (0.682)                     (0.372)         (0.484)     (0.382)
           (13)
 Number of outliers/unclassifiable observations: 19
  +
   Number excluding outliers.
  ***
     significant at 1% level;** significant at 5% level;* significant at 10% level.
  Standard errors in parentheses.



  Figure 1: Part-Worths for Monetary Reward
        Part-worth                                U.S. sample
                                                  Singapore sample




                                                                  U.S.$
                                                                  Reward
                     5           10                       20
